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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                                                :
             v.                                 :           Crim No. 1:22-cr-00354-RCL
                                                :
                                                :
RICHARD SLAUGHTER, and                          :
                                                :
CADEN PAUL GOTTFRIED,                           :
                                                :
                    Defendants.                 :

    UNITED STATES’ RESPONSE TO DEFENSE NOTICE THAT GOVERNMENT
    ATTEMPTED TO PLANT TROJAN MALWARE ON DEFENSE COMPUTERS

       The United States of America (the “government”) stands accused by defense counsel of

attempting, through the discovery process, to plant trojan malware on counsel’s computer systems.

He claims, without evidence, this nefarious software is “designed to allow the sender to take over

and remotely control the recipient’s computer.” Defendant’s Brief at 2. Counsel then takes several

leaps forward and surmises that the government’s intent in planting malware was to “allow the

government to invade and know all privileged and confidential contents and work product of

defense team computers.” Defendant’s Brief at 3. He demands the Court “[i]nitiat[e] an

investigation into this matter” to determine who created this malware, which agents are now

tracking the computers of defense counsel, and other related relief, including sanctions on

government counsel. Defendant’s Brief at 7. In response, the undersigned states as follows:

       1. Until recently and throughout the pendency of this case, defendants Slaughter and

           Gottfried were represented by Joseph R. Conte. On March 2, 2023, attorney John M.

           Pierce made his appearance in this case. Four days later, on March 6, 2023, Mr. Conte

           filed a motion to withdraw as counsel.
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       2. On March 20, 2023, the case agent informed the government that additional discovery

           had been produced in this case. Pursuant to a search warrant, the FBI had reviewed the

           contents of both Gottfried’s and Slaughter’s cell phones. The agent indicated that only

           Slaughter’s phone contained any material related to the government’s investigation.

       3. Later that day, through USAfx 1, the case agent provided the government with four files:

           two FBI 302s summarizing the results of the cell phone searches, a Cellebrite report

           containing the scoped contents of Slaughter’s phone as a .ufdr file, and the Cellebrite

           reader required to view the file:




       4. The government downloaded the files, reviewed them, and determined that the files

           could be produced to the defense. Less than two hours later, the undersigned took the

           four files, converted them to a .zip file, titled the file, “1st Supp. Discovery.zip,”

           uploaded to USAfx, and shared with defense counsel.




           The undersigned then invited Mr. Pierce and his associates to view the file at 4:42 p.m.

           on March 20, and the government’s read receipt indicates that Mr. Pierce’s co-counsel,


1
  USAfx is the government’s secure, cloud-based file sharing platform. The platform is the near-
exclusive means by which the government shares discovery for all January 6-related cases.
                                              2
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           Roger Roots, accepted the invitation same day. The activity log from USAfx reflects

           that Mr. Roots downloaded the .zip file on Saturday, March 25, at 5:15 p.m.

       5. On Sunday, March 26, the government learned for the first time that the defense team

           was having trouble opening the file, with defense stating that computer virus software

           was alerting them to malware within the file. The next morning, the government

           downloaded its own production from USAfx and successfully opened all four files

           without issue. It then created a new .zip file out of the four files previously produced,

           titled the file “1st Supp. Discovery – Resent 3.27.28.zip,” re-uploaded to USAfx, and

           again shared the file with defense counsel. The government also sent an email to the

           defense team noting that the issue may have to do with the “Cellbrite.exe” file and that

           the government would “re-run the .zip file and send again.” 2

       Undersigned counsel is an officer of the Court, and an attorney for the government with no

specialized knowledge, training, or expertise in computer programming, hacking, computer

espionage, or other methods of covert electronic surveillance. He lacks most administrative rights

to his computer and has no access to the type of software defense counsel claims the government

is attempting to infect him with. Despite the defendant’s rhetoric, undersigned counsel

nevertheless endeavored to see if there was an issue with the downloaded discovery, consistent

with its representations to Court and Counsel.



2
  Defense notes in their filing that “the idea of ‘rerunning’ the file suggests [the government] ran
the infected file previously.” See Defense’s Brief, ECF No. 39, at 6. To clarify, all the government
did was convert the same four files into a separate .zip file and send to defense counsel a second
time. Despite defense’s statement at the status conference that he was not accusing the
government’s attorney of knowingly attempting to install spyware on his computer software, that
is precisely what defense’s pleading accuses the undersigned of doing.
                                                   3
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       Following defense counsel’s pleading, the government conferred with a Senior Digital

Investigative Analyst (the “analyst”) with the DOJ’s Computer Crime and Intellectual Property

Section (CCIPS). This individual has 13 years of experience in digital forensics, four years’

experience in the field of cybersecurity, and has participated in over 500 hours of training in digital

forensics. The analyst’s certifications include the following:

            •   GIAC Certified Forensic Analyst (GCFA);
            •   EnCase Certified Examiner;
            •   Nuix Investigation Specialist;
            •   Defense Cyber Crime Center Certified Digital Forensic Examiner;
            •   AccessData Certified Examiner;
            •   Cellebrite Certified Operator;
            •   Cellebrite Certified Physical Analyst; and
            •   Certified Information System Security Professional (CISSP).

       The analyst downloaded the government’s file marked “1st Supp. Discovery.zip” directly

from the same USAfx file sharing account the government used to send the file to the defense.

The analyst then computed the hash values 3 of the file, which were as follows:

       •    MD5: 95487d8cacd666168a9c2d5fd1452556
       •    SHA-1: 3ae5063fda6e79e15259d0581bb623e12a33b7af

The analyst scanned the file with Windows Defender (security intelligence version 1.385.1389.0,

dated 3/28/2023 8:49 AM) and with Malwarebytes 4.5.25.256 (update package version 1.0.67276

and component package version 1.0.1957). No threats were found with either antivirus program.




3 “A hash value is a numeric value of a fixed length that uniquely identifies data. Hash values
represent large amounts of data as much smaller numeric values, so they are used with digital
signatures. You can sign a hash value more efficiently than signing the larger value. Hash values
are also useful for verifying the integrity of data sent through insecure channels. The hash value
of received data can be compared to the hash value of data as it was sent to determine whether the
data was altered.” https://learn.microsoft.com/en-us/dotnet/standard/security/ensuring-data-
integrity-with-hash-codes (last accessed April 10, 2023).
                                                  4
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The analyst recommended reaching out to defense counsel to confirm the hash values of the file

matched. According to the analyst, if the hash values matched, then the government could confirm

the defense has an exact copy of the same .zip file uploaded to USAfx.

       On April 10, 2023, the defense emailed the government and confirmed that the hash values

of the file in question matched the hashes provided by the CCIPS analyst. Put another way: the

government can confirm the CCIPS analyst reviewed the exact same file the defense claims was

designed to take over their computers and “invade and know all privileged and confidential

contents and work product of defense team computers.” Defendant’s Brief at 3. The analyst thus

confirmed nothing is wrong with the file.

       To summarize: defense counsel was sent discovery. His own computer systems were

unable to open all the files, and his anti-virus software blocked the file. Instead of working to

identify why the program would not open, defense counsel jumped, leaps and bounds, to the most

logical, reasoned conclusion: the government took “newly invented” malware, which “allows the

government to invade and know all privileged and confidential contents and work product of team

defense computers,” and used its discovery obligations as a subterfuge to hack into defense

information technology systems. Defense further surmises that this software has possibly “been

used before by the government and has succeeded in taking over other defense lawyers or legal

teams.” 4 This is false.

       WHEREFORE, the United States, respectfully requests that this Court deny defense’s

request for investigation, evidentiary hearing, and sanctions. The government also respectfully


4
 As an aside, within minutes of his filing, Mr. Pierce’s Notice and Motion was uploaded by his
IT expert and “client advocate,” Emily Lambert, to an online document sharing platform, where it
was then immediately shared to Twitter. See Government’s Exhibits 1 and 2.
                                                5
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requests the Court set a status conference to determine the state of plea negotiations or, in the

alternative, to set a trial date.



                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar Number 481052

                                            By:     ____________________________
                                                    Stephen J. Rancourt
                                                    Texas Bar No. 24079181
                                                    Assistant United States Attorney, Detailee
                                                    601 D Street, NW
                                                    Washington, D.C. 20530
                                                    (806) 472-7398
                                                    stephen.rancourt@usdoj.gov




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